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                           IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


RENEA M. HECT,

       Plaintiff,

vs.                                                            No. CIV 99-76 LCS/KBM-ACE

RAYTHEON COMPANY,

       Defendant.


                          MEMORANDUM OPINION AND ORDER

       THIS MATTER came before the Court on Defendant’s Motion for Partial Summary

Judgment on Plaintiff’s Allegations of Demeanor of Defendant’s Investigator (Doc. 87), filed

January 20, 2000. The Court has reviewed the motions, the memoranda submitted by the parties,

and the relevant law. For the reasons stated in the following opinion, the Court finds that

Defendant’s Motion is not well taken and it will be denied.

I. Background

       Defendant Raytheon Company (“Raytheon”) moves for partial summary judgment as to

Plaintiff’s allegations that the harsh interrogation of Plaintiff by Raytheon’s investigator violated

the anti-retaliation provisions of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-3

(a). Plaintiff alleges that after she complained of sexual harassment, Raytheon sent an

investigator, Jan Miele, to the White Sands Missile Range work site. According to Plaintiff’s

Amended Complaint, Miele

       . . . vigorously interrogated Plaintiff. Miele was harsh and demeaning in her comments to
       Plaintiff. She asked Plaintiff why she didn’t kick her co-workers or physically fight back.
       Miele also tried to get Plaintiff to verbally confront all five of her co-workers in a room to
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       hear what would transpire, an event that Plaintiff resisted and found intimidating and
       offensive. Miele also inquired as to whether Plaintiff had contacted a lawyer.

Amended Complaint (Doc. 41) ¶ 32.

       Defendant argues that harsh and demeaning interrogation cannot be the basis of a Title

VII retaliation action as a matter of law because demeanor and questions are not adverse

employment actions. Plaintiff responds by arguing that her claims involve retaliation that

occurred directly during the investigation of her allegations of sexual harassment, not merely her

supervisor treating her differently after her complaint. Second, Plaintiff argues that the manner in

which the investigation is conducted is relevant to establish that Raytheon did not initiate the

investigation with a motive to take remedial action, but instead to retaliate against Plaintiff.

II. Analysis

       I note initially that the disposition of this motion will not affect Plaintiff’s ability to

introduce at trial evidence of the allegedly “harsh and demeaning” nature of the investigation.

Plaintiff is correct that the jury must be allowed to examine “the totality of the circumstances” of

the investigation to determine if the investigation was motivated by Raytheon’s desire to

implement prompt remedial measures to the sexual harassment, or if the investigation was

“retaliatory, incomplete or bogus” as Plaintiff alleges. See Pl.’s Mem. in Response(Doc. 92) at 3.

Therefore, Plaintiff’s second argument is correct, but inapplicable to the motion before the Court.

       Defendant’s motion recites that it “is not based upon alleged undisputed facts, but involves

a pure legal issue.” See Def.’s Mem. of Auth. (Doc. 88) at 1. As such a facial challenge,

Defendant’s motion does not challenge the sufficiency of the evidentiary underpinnings of any of

the allegations in Paragraph 32 of the Amended Complaint. Therefore, although entitled a



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“Motion for Summary Judgment,” the motion is in essence a motion to dismiss for failure to state

a claim under Rule 12(b)(6). Therefore, I must assume the allegations contained in Paragraph 32

of Plaintiff’s Amended Complaint to be true and I must view them in the light most favorable to

Plaintiff. See Miller v. Glanz, 948 F.2d 1562, 1565 (10th Cir. 1991).

       The issue before the Court is essentially whether a “vigorous interrogation” of an

employee by an investigator who is “harsh and demeaning,” in the course of an employer’s

internal investigation into the employee’s reports of sexual harassment, may rise to the level of

prohibited retaliation under Title VII. This appears to be an unresolved issue in the Tenth Circuit,

as neither party, nor the Court’s own research, has identified a case directly on point. However,

at least one other circuit court has held that a harsh interrogation by an employer in response to an

EEOC complaint can rise to the level of actionable retaliation. See Paxton v. Union Nat’l Bank,

688 F.2d 552, 572 (8th Cir. 1982), cert. denied, 460 U.S. 1083 (1983). Other federal courts have

held that seemingly minor actions by an employer that are a direct response to an employee’s

protected activity violates 42 U.S.C. § 2000e-3 (a). See McCauley v. Greensboro City Bd. of

Educ., 714 F. Supp. 146, 152 & n.3 (M.D.N.C. 1987) (citing cases). Furthermore, the Tenth

Circuit has stated expressly that the term “adverse employment action” should be given a liberal

interpretation in the context of retaliation cases. See Gunnell v. Utah Valley State College, 152

F.3d 1253, 1264 (10th Cir. 1998).

       Defendant points out that a recent Fifth Circuit case, Webb v. Cardiothoracic Surgery

Assoc., 139 F.3d 532, 540 (5th Cir. 1998), rejected a plaintiff’s contention that rude treatment by

a co-worker, after she accused the co-worker of sexual harassment, was actionable retaliation.

Webb is clearly distinguished from the facts of this case because in Webb, there was no allegation


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that the employer’s investigation itself was harassing or severe. Therefore, the “rude treatment”

by the co-worker accused of sexual harassment in Webb was not a direct response by the

employer to the protected activity. The Webb court, therefore, analyzed whether the rude

treatment by co-workers was sufficiently severe to constitute a change in the terms and conditions

of employment, and concluded that it was not. As indicated above, in those cases where an

employer directly initiates a response against an employee who takes protective action, courts are

much more likely to find an adverse employment action. There is a strong policy reason for this

difference: adverse actions taken by an employer in response to an employee’s protected conduct

may have a chilling effect on other employees’actions. See Hashimoto v. Dalton, 118 F.3d 671,

676 (9th Cir. 1997). The more direct the linkage between the employee’s complaint and the

alleged adverse action, the more chilling the effect.

        In Gunnell, the Tenth Circuit concluded that co-worker hostility or retaliatory harassment

could be the basis for a retaliation claim if the hostility were sufficiently severe. See Gunnell, 152

F.3d at 1264. Defendant does not argue insufficient severity in this motion, choosing instead to

make a facial challenge on whether an investigator’s hostile interrogation, as a matter of law, can

constitute an adverse employment action for purposes of a retaliation claim. Following Gunnell,

152 F.3d 1253, Paxton, 688 F.2d 552, and the policy rationale presented above, this court

concludes that a hostile interrogation by an employer’s investigator, if sufficiently severe, can be

the basis for a retaliation claim.



        WHEREFORE, IT IS ORDERED that Defendant’s Motion for Partial Summary

Judgment on Plaintiff’s Allegations of Demeanor of Defendant’s Investigator (Doc. 87), filed


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January 20, 2000, is denied.




                                            LESLIE C. SMITH
                                            United States Magistrate Judge




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